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 8                                   UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         No. 1:18cr158 DAD-BAM
12                      Plaintiff,
13          v.                                         STIPULATION AND ORDER
14   FELIPE ANGELES VALDEZ-COLIMA,
15                      Defendant.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendants,

18   by and through their counsel of record, hereby stipulate as follows:

19          1.      The parties previously agreed to set this matter for a change of plea before the

20                  district court on the same day as its previously set status conference, but at 10 a.m.

21          2.      The Court then set the matter for October 10 due to its unavailability.

22          3.      Counsel for the defendant has a previously set state-court matter on October 10

23                  and is unavailable at that time.

24          4.      The parties agree to continue this matter to October 15, 2018, at 10:00 a.m. and

25                  has cleared this date with the deputy courtroom clerk.

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     Case 1:18-cr-00158-DAD-BAM Document 33 Filed 09/21/18 Page 2 of 2


 1   IT IS SO STIPULATED.
 2   DATED:         September 21, 2018. Respectfully submitted,
 3                                        McGREGOR W. SCOTT
 4                                        United States Attorney

 5                                        /s/ Karen A. Escobar___________________
                                          KAREN A. ESCOBAR
 6                                        Assistant United States Attorney
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 8   DATED:         September 21, 2018.

 9                                        /s/ Fredric Jon Gagliardini
                                          FREDRIC JON GAGLIARDINI
10                                        Counsel for Felipe Angeles Valdez-Colima
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13                                        ORDER
14          The court has reviewed and considered the stipulation of the parties to continue the
15   change of plea in this case. Good cause appearing, the change of plea hearing as to the above-
16   named defendant currently scheduled for October 10, 2018, is continued until
17   October 15, 2018 , at 10:00 a.m. in courtroom 5 before District Judge Dale A. Drozd.
18
     IT IS SO ORDERED.
19
        Dated:     September 21, 2018
20                                                       UNITED STATES DISTRICT JUDGE
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